                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8983 Page 1 of 15



                                    1    Mark C. Mao, CA SBN No. 236165
                                         mark.mao@troutmansanders.com
                                    2    Charanjit Brahma, SBN No. 204771
                                         charanjit.brahma@troutmansanders.com
                                    3    TROUTMAN SANDERS LLP
                                         580 California Street, Suite 1100
                                    4    San Francisco, CA 94104
                                         Telephone: 415.477.5700
                                    5    Facsimile: 415.477.5710
                                    6    Attorneys for Defendants Pacific Surf
                                         Designs, Inc. and Flow Services, Inc.
                                    7
                                    8                          UNITED STATES DISTRICT COURT
                                    9                       SOUTHERN DISTRICT OF CALIFORNIA
                                10
                                11       WHITEWATER WEST                                 Case No. 17-cv-01118-BEN-BLM
                                         INDUSTRIES, LTD., a Canadian
                                12       corporation,                                    DEFENDANTS’ OPPOSITION TO
                                                                                         PLAINTIFF’S MOTION TO
                                13                           Plaintiff,                  STRIKE OR EXCLUDE THE
                                                                                         REPORT AND TESTIMONY OF
                                14       v.                                              JAMES T. CARMICHAEL
                                15       PACIFIC SURF DESIGNS, INC., a                       Date:         December 10, 2018
                                         Delaware corporation, and                           Time:         10:30 A.M.
                                16       FLOW SERVICES, INC., a                              Ctrm:         5A
                                         Delaware Corporation                                Judge:        Hon. Roger T. Benitez
                                17
                                                             Defendants.
                                18
                                19
                                20
                                21
                                22
                                23
                                24
                                25
                                26
                                27
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                       CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8984 Page 2 of 15



                                    1                                             TABLE OF CONTENTS
                                    2                                                                                                                    Page
                                    3    I.        INTRODUCTION ........................................................................................... 1
                                         II.       LEGAL STANDARD ..................................................................................... 2
                                    4
                                         III.      ARGUMENT .................................................................................................. 2
                                    5              A.  MR. CARMICHAEL IS WELL-QUALIFIED TO OFFER
                                                       HELPFUL EXPERT TESTIMONY ON THE INEQUITABLE
                                    6                  CONDUCT ISSUES IN THIS CASE .................................................. 3
                                    7              B.  MR. CARMICHAEL’S EXPERT TESTIMONY ON
                                                       INEQUITABLE CONDUCT ISSUES IS HELPFUL AND
                                    8                  ADMISSIBLE ....................................................................................... 3
                                                       1.   Mr. Carmichael May Opine on Materiality ................................ 4
                                    9
                                                       2.   Mr. Carmichael Offers Permissible Opinions on Facts
                                10                          Suggestive of Intent .................................................................... 8
                                                       3.   Mr. Carmichael May Opine on Time Constraints Faced
                                11                          by the PTO .................................................................................. 9
                                12       IV.       CONCLUSION ............................................................................................. 10
                                13
                                14
                                15
                                16
                                17
                                18
                                19
                                20
                                21
                                22
                                23
                                24
                                25
                                26
                                27
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                                  CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8985 Page 3 of 15



                                    1                                           TABLE OF AUTHORITIES
                                    2    Cases                                                                                                             Page(s)
                                    3
                                         Aevoe Corp. v. AE Tech Co.,
                                    4       2014 U.S. Dist. LEXIS 117197 (D. Nev. August 20, 2014) ................................. 7
                                    5    Alfred E. Mann Found. for Sci. Res. v. Cochlear Corp.,
                                    6       2014 U.S. Dist. LEXIS 1975141 (C.D. Cal. Jan. 3, 2014)............................ 2, 3, 6
                                    7    Anagram Int’l, Inc. v. Mayflower Dist. Co.,
                                    8      2008 WL 5500764 (D. Minn. Aug. 21, 2008)................................................... 6, 7

                                    9    Armament Sys. & Procedures, Inc. v. IQ Hong Kong Ltd.,
                                           2007 WL 1267877 (E.D. Wis. Apr. 24, 2007) ...................................................... 6
                                10
                                11       Barry v. Medtronic, Inc.,
                                           2016 U.S. Dist. LEXIS 104118 (E.D.Tex. July 19, 2016) .................................... 7
                                12
                                         Brigham & Women’s Hosp. Inc. v. Teva Pharms. USA, Inc.,
                                13
                                            2010 U.S. Dist. LEXIS 99598 (D. Del. Sept. 21, 2010) ...................................... 6
                                14
                                         Datatreasury Corp. v. Wells Fargo & Co.,
                                15         2010 WL 11468934 (E.D. Tex. Oct. 5, 2010) ..................................................... 10
                                16
                                         Intellectual Ventures I LLC v. Symantec Corp.,
                                17          2015 U.S. Dist. LEXIS 2841 (D. Del. Jan. 6, 2015) ............................................. 9
                                18       Loudermill v. Dow Chemical Co.,
                                19         863 F.2d 566 (8th Cir. 1988) ................................................................................. 2
                                20       Medicines Co. v. Mylan Inc.,
                                           2014 U.S. Dist. LEXIS 61084 (N.D. Ill. May 2, 2014) ............................ 5, 6, 7, 8
                                21
                                22       Medtronic Sofamor Danek USA, Inc. v. Nuvasive, Inc.,
                                           2012 U.S. Dist. LEXIS 17939, 2012 WL 474181 (S.D. Cal. Feb.
                                23         14, 2012) ................................................................................................................ 4
                                24
                                         Ohio Willow Wood Co. v. Alps South, LLC,
                                25         735 F.3d 1333 (Fed. Cir. 2013) ......................................................................... 2, 6
                                26       Pharmacia Corp. v. Par Pharm., Inc.,
                                27         2004 U.S. Dist. LEXIS 30988 (D.N.J. 2004) ........................................................ 6
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                                   CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8986 Page 4 of 15



                                    1    Primiano v. Cook,
                                    2       598 F.3d 558 (9th Cir. 2010) ................................................................................. 2

                                    3    Shuffle Master, Inc. v. MP Games LLC,
                                            553 F. Supp. 2d 1202 (D.Nev. 2008) .................................................................... 7
                                    4
                                    5    In re Solodyn (Minocycline Hydrochloride) Antitrust Litig.,
                                            2018 U.S. Dist. LEXIS 11921; 2018 WL 563144 (D. Mass. Jan. 25,
                                    6       2018) ...................................................................................................................... 7
                                    7
                                         United Food & Commer. Workers Local 1776 v. Teikoku Pharma
                                    8      USA,
                                           296 F. Supp. 3d 1142 ......................................................................................... 4, 5
                                    9
                                10       United States v. 17.69 Acres of Land,
                                           No. 99-cv-1248-DMS, 2004 U.S. Dist. LEXIS 31030, 2004 WL
                                11         5632928 (S.D. Cal. Dec. 20, 2004) ....................................................................... 2
                                12
                                         United States v. Valle,
                                13         72 F.3d 210 (1st Cir. 1995) ................................................................................... 8
                                14       Worldwide Home Prod., Inc. v. Bed, Bath & Beyond, Inc.,
                                15         74 F. Supp. 3d 626 (S.D.N.Y. 2015) ..................................................................... 5
                                16       Rules and Other Authorities
                                17       37 C.F.R. § 1.56 .......................................................................................................... 4
                                18
                                         Fed. R. Evid. 702 ........................................................................................................ 2
                                19
                                         Fed. R. Evid. 704 ........................................................................................................ 3
                                20
                                21
                                22
                                23
                                24
                                25
                                26
                                27
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5                                                    2
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                                     CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8987 Page 5 of 15



                                    1    I.      INTRODUCTION
                                    2            It is well-established that expert testimony concerning whether
                                    3    misrepresentations made to, or omissions withheld from, the Patent Office are
                                    4    material and whether particular facts are indicative of an intent to deceive the Patent
                                    5    Office is admissible. Even the cases Plaintiff cites in support of its motion say so,
                                    6    and Plaintiff has tellingly offered its own expert, Nicolas Godici, to testify about
                                    7    much the same subject matter.
                                    8            There is no question that Mr. Carmichael, a former Patent and Trademark
                                    9    Office Administrative Patent Judge—is qualified as an expert in PTO practice and
                                10       procedure, having served for nearly a decade supervising PTO enforcement
                                11       proceedings and then as Examiner-In-Chief. Mr. Carmichael studiously stays away
                                12       from the types of opinions that are frequently rejected by courts—state-of-mind
                                13       opinions that attempt to read the mind of a particular individual, or opinions
                                14       concerning the state of the law. Instead, Mr. Carmichael offers opinions to explain
                                15       the duty of candor owed to the PTO and the Office’s expectation of how patent
                                16       applicants and petitioners comply with that duty. Mr. Carmichael will also describe
                                17       the kind of information that the PTO considers material when deciding either
                                18       whether an invention is patentable or whether a petition should be granted. And he
                                19       will compare the PTO’s expectations against the inventor’s, Plaintiff’s and
                                20       Plaintiff’s counsel’s actions in this case.
                                21               Mr. Carmichael’s expert opinion testimony is absolutely essential to the
                                22       Court and a jury to properly evaluate whether those actions were reasonable and
                                23       benign or intended to deceive the PTO and effective in doing so. Consequently, the
                                24       testimony Mr. Carmichael will provide is relevant, admissible, and will
                                25       undoubtedly aid the Court and the jury in resolving this case. Plaintiff’s Daubert
                                26       motion is unfounded, and its criticisms should be reserved for cross-examination.
                                27       ///
                                28       ///
T ROUTM AN S ANDERS
       LLP                               36938094v5                                    1
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8988 Page 6 of 15



                                    1    II.      LEGAL STANDARD
                                    2             Federal Rule of Evidence 702 favors admission of expert testimony. See Fed.
                                    3    R. Evid. 702, Notes of Advisory Committee on 2000 Amendments (“the rejection
                                    4    of expert testimony is the exception rather than the rule”). As Plaintiff concedes,
                                    5    “[e]xpert testimony is admissible pursuant to Rule 702 if it is both relevant and
                                    6    reliable.” MPA at 3. Indeed, authority cited by Plaintiff holds that “a district court
                                    7    may consider expert testimony of a patent attorney if relevant.” Alfred E. Mann
                                    8    Found. for Sci. Res. v. Cochlear Corp., No. 07-cv-8108, 2014 U.S. Dist. LEXIS
                                    9    197541, at *25 (C.D. Cal. Jan. 3, 2014). Relevance means that the evidence will
                                10       assist the trier of fact to understand or determine a fact in issue. E.g., Primiano v.
                                11       Cook, 598 F.3d 558, 564 (9th Cir. 2010).
                                12                Because experts will be cross-examined at trial, the standard for excluding
                                13       testimony is high. Expert testimony “should not be excluded as speculative unless
                                14       ‘it is “so fundamentally unsupported that it can offer no assistance to the jury.”’”
                                15       United States v. 17.69 Acres of Land, No. 99-cv-1248-DMS, 2004 U.S. Dist.
                                16       LEXIS 31030, *4-5, 2004 WL 5632928 (S.D. Cal. Dec. 20, 2004) (quoting
                                17       Loudermill v. Dow Chemical Co., 863 F.2d 566, 570 (8th Cir. 1988)). Lesser
                                18       criticisms of expert testimony should be addressed through cross-examination. Id.
                                19       III.     ARGUMENT
                                20                Demonstrating inequitable conduct involves two inquiries: (1) materiality
                                21       (from the PTO’s perspective) of misrepresentations, misinformation, or withheld
                                22       information and (2) intent to deceive, which may be inferred from indirect and
                                23       circumstantial evidence. Ohio Willow Wood Co. v. Alps South, LLC, 735 F.3d 1333,
                                24       1344-45, 1351 (Fed. Cir. 2013). Mr. Carmichael is qualified to provide helpful
                                25       testimony for the trier of fact on both these inquiries, as explained below.
                                26       ///
                                27       ///
                                28       ///
T ROUTM AN S ANDERS
       LLP                               36938094v5                                    2
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                       CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8989 Page 7 of 15



                                    1            A.    MR. CARMICHAEL IS WELL-QUALIFIED TO OFFER
                                                       HELPFUL EXPERT TESTIMONY ON THE INEQUITABLE
                                    2                  CONDUCT ISSUES IN THIS CASE
                                    3            Over his career Mr. Carmichael spent decades at the PTO and in private
                                    4    practice in patent prosecution. As an attorney in the Office of the Solicitor at the
                                    5    PTO, Mr. Carmichael supervised all of the PTO’s enforcement proceedings for
                                    6    violations of its Code of Professional Responsibility—including violations of
                                    7    practitioners’ duty of candor. Carmichael Report at ¶¶ 10-11. After five years at the
                                    8    PTO, Mr. Carmichael was appointed Examiner-In-Chief (also known as
                                    9    Administrative Patent Judge) in the electrical and computer division of the Board of
                                10       Patent Appeals and Interferences, a position he held from 1996 to 1999. Id. at 20.
                                11       After leaving public service, Mr. Carmichael practiced patent prosecution for nearly
                                12       two decades, including at two highly-respected intellectual property law firms. Id.
                                13       at ¶¶ 24-25, 27. He has served as an expert on patent practice and procedure,
                                14       including for the PTO itself. Id. at ¶ 27. Thus, Mr. Carmichael is well-qualified to
                                15       address PTO practice and procedure both in general, and as applied to the
                                16       inequitable conduct issues surrounding the ’589 patent.
                                17               B.    MR. CARMICHAEL’S EXPERT TESTIMONY ON
                                                       INEQUITABLE CONDUCT ISSUES IS HELPFUL AND
                                18                     ADMISSIBLE
                                19               Contrary to Plaintiff’s arguments, “[a]n opinion is not objectionable just
                                20       because it embraces an ultimate issue” of the case. Fed. R. Evid. 704. But rather
                                21       than parse Mr. Carmichael’s proposed testimony to exclude only what Plaintiff
                                22       contends would improperly invade the province of the trier of fact, Plaintiff
                                23       foregoes any thoughtful analysis and instead seeks to exclude Mr. Carmichael’s
                                24       testimony entirely. Plaintiff argues that Mr. Carmichael provides “improper
                                25       testimony in the form of legal conclusions,” including his opinions concerning
                                26       “whether or not the ‘589 Patent was obtained or revived through misconduct or
                                27       failure to disclose material information.” MPA at 2, 6. Plaintiff also argues that Mr.
                                28       Carmichael’s opinion reflects improper “retroactive mind reading of the thoughts of
T ROUTM AN S ANDERS
       LLP                               36938094v5                                   3
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8990 Page 8 of 15



                                    1    patent examiners.” See MPA at 8. Plaintiff is wrong on both counts, as Mr.
                                    2    Carmichael made clear repeatedly during his deposition. Mr. Carmichael has
                                    3    explicitly steered clear from offering legal opinions and opinions as to individuals’
                                    4    states of mind. Instead, as detailed below, he has focused his opinions on areas that
                                    5    have frequently been deemed acceptable by multiple courts, including this one: the
                                    6    PTO’s standard for materiality and the duty of candor it imposes on practitioners,
                                    7    applicants and petitioners, as well as the facts of this case from which an intent to
                                    8    deceive the PTO can properly be inferred.
                                    9            Mr. Carmichael also opines on the duty of candor and good faith before the
                                10       PTO, which is governed by 37 C.F.R. § 1.56. This duty applies to “[e]ach
                                11       individual associated with the filing and prosecution of a patent application” and
                                12       requires that “all information known to that individual to be material to
                                13       patentability” of the claims in the application be disclosed to the USPTO. 37 C.F.R.
                                14       § 1.56. While Plaintiff contends that Mr. Carmichael improperly offers an opinion
                                15       as to whether Plaintiff breached its duty of good faith and candor, it is worth noting
                                16       that Plaintiff offers an expert of its own, Nicholas Godici, to opine on the very same
                                17       thing. See Godici Report at ¶ 83. Mr. Carmichael properly explains what the duty of
                                18       candor and good faith means to patent prosecutors based on his experience with the
                                19       PTO. Carmichael Report at ¶¶ 88-139. His specific experience renders his opinion
                                20       on the duty of good faith and candor reliable and useful. Indeed, Mr. Carmichael’s
                                21       testimony on this duty has been accepted at trial in this district. Medtronic Sofamor
                                22       Danek USA, Inc. v. Nuvasive, Inc., No. 08-cv-1512, 2012 U.S. Dist. LEXIS 17939,
                                23       *15, 2012 WL 474181 (S.D. Cal. Feb. 14, 2012) (“James Carmichael testified at
                                24       trial as an expert in PTO practice and procedure, including the duty of candor and
                                25       good faith.”).
                                26                     1.    Mr. Carmichael May Opine on Materiality
                                27               Mr. Carmichael should be permitted to testify regarding inequitable conduct
                                28       issues. E.g., United Food & Commer. Workers Local 1776 v. Teikoku Pharma USA,
T ROUTM AN S ANDERS
       LLP                               36938094v5                                   4
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                      Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8991 Page 9 of 15



                                    1    296 F. Supp. 3d 1142, 1159-60 (N.D Cal. Nov. 3, 2017) (citing expert testimony on
                                    2    inequitable conduct issue of “whether [defendant] and the [patent] inventor (Ono)
                                    3    affirmatively misled the PTO by failing to disclose specific . . . prior art references”
                                    4    that “asserted that the non-disclosure was material and Ono’s failure to disclose the
                                    5    prior art was egregious”). District courts have consistently recognized that experts
                                    6    may opine on the materiality of a patent applicant’s misrepresentations and
                                    7    omissions before the PTO. E.g., id.; Worldwide Home Prod., Inc. v. Bed, Bath &
                                    8    Beyond, Inc., 74 F. Supp. 3d 626, 633 (S.D.N.Y. 2015) (“Mr. Poms’ testimony with
                                    9    regard to the propriety of the Plaintiff’s conduct before the patent office and the
                                10       materiality of the omitted information to the PTO examiner’s decision is properly
                                11       admissible. . . . His opinions are relevant to the adequacy of Plaintiff’s disclosures
                                12       to the PTO examiner, which is a question of mixed law and fact.”); Holmes Group,
                                13       Inc. v RPS Prods., 2010 U.S. Dist. LEXIS 102727, at *16 (allowing expert to
                                14       “testify as to whether a reasonable patent examiner would have considered the
                                15       information to be material”). In a case Plaintiff cites, Meds Co. v. Mylan Inc., No.
                                16       11-cv-1285, 2014 U.S. Dist. LEXIS 61084 (N.D. Ill. May 2, 2014), the patent
                                17       holder made exactly the same argument as Plaintiff does here: that expert testimony
                                18       on the materiality of an applicant’s representations and omissions before the PTO
                                19       should be excluded. Id at *20. But the district court disagreed, holding that the
                                20       patent expert “may [] opine on whether a certain criteria is material to a Patent
                                21       Office examiner.” Id. at *19.
                                22               One court has explained:
                                23               [A]s an undoubted expert not only in patent law but in the workings of
                                24               the Patent and Trademark Office, [the expert] would be able to provide
                                                 some factual context for why Parsons’ behavior would have been
                                25               inequitable, especially regarding the issue of materiality. . . . If [the
                                26               expert] can shed light on what a reasonable examiner would have
                                                 considered important, I see no reason to exclude his testimony.
                                27
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5                                   5
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                    Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8992 Page 10 of 15



                                    1    Armament Sys. & Procedures, Inc. v. IQ Hong Kong Ltd., No. 00-cv-01257, 2007
                                    2    WL 1267877, at *1 (E.D. Wis. Apr. 24, 2007). So too here, Mr. Carmichael offers
                                    3    permissible testimony on the issue of materiality.
                                    4            Plaintiff’s motion ignores that patent attorney experts like Mr. Carmichael
                                    5    are regularly permitted to testify on issues such as PTO procedures to assist the trier
                                    6    of fact to determine a fact in issue—as verified in even the authority Plaintiff cites.
                                    7    See, e.g., Meds. Co. v. Mylan Inc., 2014 U.S. Dist. LEXIS 61084, at *19 (allowing
                                    8    testimony of patent law expert with PTO experience); Anagram Int’l, Inc. v.
                                    9    Mayflower Distrib. Co., No. 07–1142, 2008 WL 5500764, at *1 (D. Minn. Aug. 21,
                                10       2008) (allowing expert to testify to “why the information, in his view, is significant
                                11       or important”); Alfred E. Mann Found. for Sci. Res., 2014 U.S. Dist. LEXIS
                                12       1975141, at **25-26 (allowing expert to testify regarding “background information
                                13       and the PTO’s procedures” for prosecution of patents-in-suit); Brigham & Women’s
                                14       Hosp. Inc. v. Teva Pharms. USA, Inc., No. 08-464, 2010 U.S. Dist. LEXIS 99598,
                                15       at **5-6 (D. Del. Sept. 21, 2010) (allowing expert testimony that “explains the
                                16       PTO’s practices and procedures); Pharmacia Corp. v. Par Pharm., Inc., No. 01-
                                17       6011, 2004 U.S. Dist. LEXIS 30988, *2 (D. N.J. 2004) (same).
                                18               Here, the perspective on PTO procedures that Mr. Carmichael provides is
                                19       relevant to the materiality of the undisclosed information and prior art omitted by
                                20       Plaintiff’s attorney, Erikson Squier, related to the reinstatement of the ’589 Patent,
                                21       because materiality is analyzed from the perspective of the PTO.
                                22               In contrast to inquiries into infringement and validity, the materiality
                                23               prong of the inequitable conduct inquiry is analyzed from the
                                                 perspective of the PTO. See Ohio Willow Wood Co. v. Alps S., LLC,
                                24               735 F.3d 1333, 1345 (Fed. Cir. 2013) (“[T]he analysis of this but-for
                                25               materiality requirement is from the perspective of the PTO.”).
                                                 Accordingly, an appropriate expert on this topic could be an individual
                                26               who has knowledge of and experience with the procedures of the PTO.
                                27       Aevoe Corp. v. AE Tech Co., No. 2:12-cv-00053, 2014 U.S. Dist. LEXIS 117197,
                                28       *6-7 (D. Nev. August 20, 2014). Mr. Carmichael’s PTO experience enables him to
T ROUTM AN S ANDERS
       LLP                               36938094v5                                   6
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                    Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8993 Page 11 of 15



                                    1    opine as to the importance of the withheld information in the PTO proceedings—a
                                    2    topic experts routinely opine on (even in the cases Plaintiff cites). E.g., Meds. Co. v.
                                    3    Mylan Inc., 2014 U.S. Dist. LEXIS 61084, at *19 (allowing patent law expert with
                                    4    experience at the PTO to “opine on whether a certain criteria is material to a Patent
                                    5    Office examiner”); Anagram Int’l, 2008 WL 5500764, at *1 (allowing expert to
                                    6    testify regarding the materiality of withheld information).
                                    7            Plaintiff’s citations to Barry and Shuffle Master are inapposite. In Barry, the
                                    8    court found that Mr. Carmichael lacked expertise in medical devices such that his
                                    9    testimony regarding how an examiner would respond if presented with additional
                                10       information would not help the trier of fact. See Barry v. Medtronic, Inc., No. 1:14-
                                11       cv-104, 2016 U.S. Dist. LEXIS 104118, at **6-8 (E.D.Tex. July 19, 2016). In
                                12       Shuffle Master, the court concluded that the proposed testimony consisted of legal
                                13       conclusions and “opinion regarding the likely subjective thoughts of the patent
                                14       examiner.” See Shuffle Master, Inc. v. MP Games LLC, 553 F. Supp. 2d 1202, 1209
                                15       (D.Nev. 2008). In arguing that Mr. Carmichael improperly speculates as to the
                                16       examiner’s state of mind, Plaintiff mischaracterizes the opinions Mr. Carmichael
                                17       will offer here. To be sure, Mr. Carmichael will not be offering to read the minds of
                                18       any patent examiners. Rather, his opinions relating to materiality will aid the trier of
                                19       fact in deciding whether—from the perspective of a reasonable PTO examiner—the
                                20       omitted information rises to the level of but-for materiality. This testimony is
                                21       permissible. In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., No. 14-
                                22       md-02503, 2018 U.S. Dist. LEXIS 11921, *65; 2018 WL 563144 (D. Mass. Jan.
                                23       25, 2018) (“Although that [PTO experience and technical training] does not qualify
                                24       him to opine on legal conclusions, that does qualify him to opine on what a
                                25       reasonable patent officer would find material in a patent application.”).
                                26               Courts allow testimony on PTO policies and procedures and on materiality in
                                27       the patent application process. Mr. Carmichael’s opinion is not speculative, but
                                28       rather is based upon his deep understanding of, and long experience with, PTO
T ROUTM AN S ANDERS
       LLP                               36938094v5                                    7
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                       CASE NO. 3:17-CV-01118-BEN-BLM
                    Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8994 Page 12 of 15



                                    1    practice and procedure. Accordingly, his reliable and helpful testimony on these
                                    2    issues should be permitted.
                                    3                  2.    Mr. Carmichael Offers Permissible Opinions on Facts
                                    4                        Suggestive of Intent

                                    5            The same result follows for Mr. Carmichael’s testimony with respect to the
                                    6    intent prong of the inequitable conduct inquiry. As Plaintiff’s own cited authority
                                    7    holds, an expert “may identify certain facts from the file history and record to
                                    8    support an inference that the applicants acted with intent to deceive.” Meds. Co.
                                    9    Experts are not prohibited “from testifying to predicate facts from which a jury
                                10       might infer . . . intent.” United States v. Valle, 72 F.3d 210, 216 (1st Cir. 1995).
                                11       That is exactly what Mr. Carmichael has done. See Report at ¶¶ 205-218.
                                12               Here, Mr. Carmichael first provides helpful context by describing PTO
                                13       procedures for reinstating a patent that expired due to unintentional delay in paying
                                14       maintenance fees as wells as procedures for withdrawing or correcting incorrect
                                15       submissions. Carmichael Report at ¶¶ 63-87, 140-143. Then he identifies facts
                                16       from the record that are suggestive of intent. See id. at ¶¶ 205-218. For example,
                                17       Mr. Carmichael notes that “the ‘Background of the Invention’ section of the ‘589
                                18       patent description includes a description of ‘[c]onventional sheet-flow wave-
                                19       simulating water rides,’ indicating the applicant’s understanding that the prior art
                                20       rides were material prior art” and yet “it fails to discuss the particular features of
                                21       the ‘589 patent claims covering a ‘nozzle assembly . . . comprising . . . a nozzle
                                22       cover . . . .’” Id. at ¶ 208. Mr. Carmichael’s testimony that under the
                                23       circumstances, these facts suggest intent to deceive the PTO will help the trier of
                                24       fact in determining this issue. Nowhere in this testimony does Mr. Carmichael
                                25       purport to act as a mind-reader. Rather, his expertise on patent prosecution is
                                26       reliable and useful in considering the facts that suggest intent.
                                27               Plaintiff also seeks to exclude Mr. Carmichael’s opinion regarding
                                28       Plaintiff’s counsel’s failure for months to act in response to multiple emails
T ROUTM AN S ANDERS
       LLP                               36938094v5                                   8
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                    Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8995 Page 13 of 15



                                    1    notifying him about the patent maintenance fees and expiration. MPA at 6-7. Here,
                                    2    too, Mr. Carmichael is not speculating but rather helpfully identifies pertinent
                                    3    facts—including false statements by Plaintiff’s counsel (see Carmichael Report at
                                    4    ¶¶ 205-218) and opines: “because Mr. Lochtefeld was the inventor and the point of
                                    5    contact for the purported patent owner with whom the patent attorneys at Knobbe
                                    6    communicated concerning paying maintenance fees, to the extent Messrs. Tache
                                    7    and Squier failed to communicate with Mr. Lochtefeld, there was no inquiry
                                    8    reasonable under the circumstances.” Carmichael Report at ¶ 212. Mr.
                                    9    Carmichael’s testimony will aid the trier of fact in determining these issues and
                                10       should be allowed.
                                11                     3.     Mr. Carmichael May Opine on Time Constraints Faced by
                                                              the PTO
                                12
                                13               Plaintiff also seeks to exclude Mr. Carmichael’s opinion about the limited
                                14       resources of the PTO. See MPA at 8-9. Objective statements on the time
                                15       constraints examiners face in reviewing applications reasonably relate to general
                                16       PTO practice and procedure. This type of evidence is routinely permitted. See, e.g.,
                                17       Intellectual Ventures I LLC v. Symantec Corp., No. 10-1067-LPS, 2015 U.S. Dist.
                                18       LEXIS 2841 at *4 (D. Del. Jan. 6, 2015) (permitting testimony that “the PTO is not
                                19       perfect, sometimes makes mistakes, did not review certain prior art, did not
                                20       consider certain invalidity arguments, and should not have issued some or all of the
                                21       patents-in-suit”); Datatreasury Corp. v. Wells Fargo & Co., No. 2:06-cv-72 DF,
                                22       2010 WL 11468934, at *11 (E.D. Tex. Oct. 5, 2010) (“Defendants may submit
                                23       PTO workload and efficiency statistics, may argue that the PTO may make
                                24       mistakes.”). Contrary to Plaintiff’s assertions, Mr. Carmichael’s opinion on the
                                25       time constraints the PTO faces explains the importance of the patent applicant’s
                                26       duty of candor and disclosure. In an ex parte setting with no one arguing against
                                27       the patent applicant, the examiner must, and does, rely upon the applicant to adhere
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5                                   9
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                    Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8996 Page 14 of 15



                                    1    to the duty of candor and disclosure. Accordingly, Mr. Carmichael’s testimony as
                                    2    to the PTO’s time constraints should not be excluded.
                                    3    IV.     CONCLUSION
                                    4            For the foregoing reasons, PSD respectfully requests that Plaintiff’s Daubert
                                    5    motion be denied.
                                    6    Dated: November 26, 2018                     TROUTMAN SANDERS LLP
                                    7                                                 By: /s/ Stacy Hovan
                                                                                         Stacy Hovan
                                    8                                                    Attorneys for Defendants
                                    9
                                10
                                11
                                12
                                13
                                14
                                15
                                16
                                17
                                18
                                19
                                20
                                21
                                22
                                23
                                24
                                25
                                26
                                27
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5                                  10
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
                    Case 3:17-cv-01118-BEN-BLM Document 215 Filed 11/26/18 PageID.8997 Page 15 of 15



                                    1                              CERTIFICATE OF SERVICE
                                    2            The undersigned hereby certifies that a true and correct copy of the above
                                    3    and foregoing document has been served on November 26, 2018 to all counsel of
                                    4    record who are deemed to have consented to electronic service via the Court’s
                                    5    CM/ECF system per Civil Local Rule 5.4. Any counsel of record who have not
                                    6    consented to electronic service through the Court’s CM/ECF system will be served
                                    7    by electronic mail, first class mail, facsimile and/or overnight delivery.
                                    8
                                                                                           /s/ Stacy Hovan
                                    9
                                                                                           Stacy Hovan
                                10
                                11
                                12
                                13
                                14
                                15
                                16
                                17
                                18
                                19
                                20
                                21
                                22
                                23
                                24
                                25
                                26
                                27
                                28
T ROUTM AN S ANDERS
       LLP                               36938094v5                                  11
 580 C A L I F O R N I A S T R E E T ,
           S U I T E 1100                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S DAUBERT MOTION RE JAMES T. CARMICHAEL
S A N F R A N C I S C O , C A 94104                                      CASE NO. 3:17-CV-01118-BEN-BLM
